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                                                                                                  United States Bankruptcy Court
                                    UNITED STATES BANKRUPTCY COURT                                    Southern District of Texas
                                      SOUTHERN DISTRICT OF TEXAS                                         ENTERED
                                                                                                         May 22, 2025
     In Re:   Tyrone Washington                                                     Case No.: 25−32542
                                                                                                      Nathan Ochsner, Clerk
              Debtor                                                                Chapter: 13


                                              ORDER
                                      RESETTING HEARING AND
                            REQUIRING SERVICE BY UNITED STATES TRUSTEE

      On 5/22/25, Tyrone Washington failed to appear at the initial hearing. It is therefore

ORDERED:

1.    The initial hearing is reset to June 12, 2025 at 09:00 AM. (Central Standard Time) before the United States
      Bankruptcy Court, 515 Rusk Ave, Courtroom 8B, Houston Texas 77002.

2.    Tyrone Washington must attend the hearing, in person, and on time. Failure of Tyrone Washington to appear
      may result in the issuance of further orders as set forth in this Court's order for initial hearing.

3.    Pursuant to Bankruptcy General Order 2021-05 parties may either appear electronically or in person unless
      otherwise ordered by this Court.

4.    To participate electronically, parties must follow the instructions set forth on Judge Rodriguez's web page
      located at: https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-eduardo-v-rodriguez. Parties are
      additionally instructed to: (i) call in utilizing the dial-in-number for hearings before Judge Rodriguez at
      832-917-1510, conference room number 999276 and (ii) log on to GoToMeeting for video appearances and
      witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE TWO SEPARATE
      DEVICES to appear by video and telephonically. One device will be used to log on to GoToMeeting and
      the other will be used to call the telephonic conference line.

5.    Within seven (7) calendar days from the issuance of this Order, the United States Trustee must serve of a copy
      of this Order, and the order for initial hearing on Tyrone Washington by regular first-class mail and file a
      certificate of service with the Court.

     Signed and Entered on Docket: 5/22/25.
